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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

                               CASE NO. 4:13CR00224 BSM

JOSEPH LOUIS THURLOW                                                          DEFENDANT

                                  AMENDED JUDGMENT

          The judgment entered on January 28, 2015 [Doc. No. 71], is hereby amended to

reflect the correct payee for the restitution amount. Thurlow is ordered to pay restitution to

West Side Pharmacy in the amount of $979.63 and to Cincinnati Insurance Company in the

amount of $61,906.79. The remaining portions of the judgment will remain in full force and

effect.

          The clerk is directed to provide a copy of this order to the United States Probation

Office and the United States Marshals Office.

          IT IS SO ORDERED this 2nd day of February 2015.



                                                      UNITED STATES DISTRICT JUDGE
